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UNlTED STATES DlSTFthT COUFiT
for the
Western District of New York

 

ROBB|N TURNER,
Plaintiff. ST|PULAT|ON OF
-vs- DlSCONT|NUANCE
C|TY OF ROCHESTER, CH|EF OF POL|CE JAMES |ndex No. 2011/6200
SHEPPARD & OFF|CER JOSEPH FERR|GNO,
Defendants

 

|T |S HEREBY ST|PULATED AND AGREED, by the undersigned attorney for P|aintiff, and the
attorney of record or representatives for the Defendant to the above entitled action, that whereas no party
hereto is an infant, incompetent person for whom a committee has been appointed or conservatee and no
person not a party has an interest in the subject matter of the action, the above entitled action be, and the

same hereby is discontinued. This stipulation may be filed without further notice with the C|erk of the
Court.

Dated: June?ll, 2014 Dated: June}?,’EOM

w T. Andrew Brown, Corporation Counsel

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A£j;,ag/K. GJngu|y, Esq(./ UJohn M. Campo|ietol of Counse|
ul

G y Brothers PLL , Attorney for Plaintiff Attorney for Defendant

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